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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

PUMA BIOTECHNOLOGY, INC. and                     )
WYETH LLC,                                       )
                                                 )
               Plaintiffs,                       )
                                                 )       C.A. No. _______________
          v.                                     )
                                                 )       DEMAND FOR JURY TRIAL
ASTRAZENECA PHARMACEUTICALS                      )
LP, ASTRAZENECA AB, and                          )
ASTRAZENECA PLC,                                 )
                                                 )
               Defendants.                       )

                       COMPLAINT FOR PATENT INFRINGEMENT

               Plaintiffs Puma Biotechnology, Inc. (“Puma”) and Wyeth LLC (collectively,

“Plaintiffs”), by their attorneys, bring this complaint against Defendants AstraZeneca

Pharmaceuticals LP, AstraZeneca AB, and AstraZeneca PLC (collectively, “AstraZeneca” or

“Defendants”), and hereby allege as follows:


                                  NATURE OF THE ACTION

               1.       This is an action for patent infringement arising under the patent laws of

the United States, Title 35, United States Code § 100 et seq., including 35 U.S.C. § 271, for

infringement of United States Patent Nos. 10,603,314 (“the ’314 patent”) and 10,596,162 (“the

’162 patent”) (collectively, “the patents-in-suit”) directed to the treatment of non-small cell lung

cancer.

               2.       Plaintiffs seek judgment that Defendants have infringed, and continue to

infringe, the patents-in-suit arising out of Defendants’ commercial manufacture, use, offer for sale,

sale, distribution, and/or importation of osimertinib and Tagrisso® (osimertinib) dosage forms

(“Tagrisso® Products”) in the United States prior to the expiration of the patents-in-suit.
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                                            THE PARTIES

                 3.       Plaintiff Puma is a corporation organized and existing under the laws of the

State of Delaware, having a principal place of business at 10880 Wilshire Boulevard, Suite 2150,

Los Angeles, California 90024. Puma is the exclusive licensee of the patents-in-suit under a

license agreement with Wyeth LLC (“Wyeth”).

                 4.        Plaintiff Wyeth is a limited liability company organized and existing under

the laws of the State of Delaware with offices at 235 East 42nd Street, New York, NY 10017.

Wyeth LLC is a wholly owned subsidiary of Pfizer, Inc. Wyeth is a co-owner of the patents-in-

suit.

                 5.        On information and belief, Defendant AstraZeneca Pharmaceuticals LP is

a limited partnership organized and existing under the laws of the State of Delaware, with a

principal place of business at 1800 Concord Pike, P.O. Box 15437, Wilmington, Delaware 19850.

On information and belief, AstraZeneca Pharmaceuticals LP is a wholly owned subsidiary of

Defendant AstraZeneca PLC, wherein the ownership is held as a partnership interest. See

AstraZeneca Annual Report and Form 20-F Information 2020 (“2020 Annual Report”) at 236–37,

available   at        https://www.astrazeneca.com/content/dam/az/Investor_Relations/annual-report-

2020/pdf/AstraZeneca_AR_2020.pdf.

                 6.        On information and belief, Defendant AstraZeneca Pharmaceuticals LP is

the holder of New Drug Application (“NDA”) No. 208065 for Defendants’ Tagrisso® Products,

including tablets of 40 mg and 80 mg dosage strength, and is a distributor of Defendants’ Tagrisso®

Products throughout the United States, including in the State of Delaware. See Tagrisso® Product

Label.

                 7.        On information and belief, Defendant AstraZeneca Pharmaceuticals LP is

in the business of, among other things, manufacturing, promoting, marketing, selling, offering for


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sale, using, distributing, and/or importing pharmaceutical products, including the Defendants’

Tagrisso® Products, throughout the United States, including in this Judicial District, through its

own actions and through the actions of its agents.

               8.       On information and belief, Defendant AstraZeneca AB is a public limited

liability company organized under the laws of Sweden with its principal place of business at

Karlebyhus, Astraallén, Södertälje, S-151 85, Sweden. On information and belief, AstraZeneca

AB is a wholly owned subsidiary of Defendant AstraZeneca PLC. On information and belief, the

President of AstraZeneca AB serves on the AstraZeneca PLC Senior Executive Team. See 2020

Annual Report at 106.

               9.       On information and belief, Defendant AstraZeneca AB is the European

Marketing Authorization Holder for Defendants’ Tagrisso® Product, including tablets of 40 mg

and 80 mg dosage strength. On information and belief, AstraZeneca AB is in the business of,

among other things, manufacturing, promoting, marketing, selling, offering for sale, using, and/or

distributing pharmaceutical products, including the Defendants’ Tagrisso® Products, throughout

the world, including in Europe and in the United States, through its own actions and through the

actions of its agents. See Center For Drug Evaluation And Research, Application Number

208065Orig1s000, Chemistry Review(s), effective date March 13, 2015, at 10–13, 50–52, 136–

138, and 164, available at

https://www.accessdata.fda.gov/drugsatfda_docs/nda/2015/208065Orig1s000ChemR.pdf.

               10.      On information and belief, Defendant AstraZeneca PLC is a public limited

company domiciled in the United Kingdom and having a location at 1 Francis Crick Avenue,

Cambridge Biomedical Campus, Cambridge CB2 0AA, United Kingdom. See 2020 Annual

Report at 288. On information and belief, AstraZeneca PLC, through its 100% ownership of




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subsidiaries Defendant AstraZeneca Pharmaceuticals LP and Defendant AstraZeneca AB, derived

and reported substantial revenue in 2020 from the worldwide sales ($4.328 billion USD) associated

with Defendants’ Tagrisso® Products, and particularly sales revenue from within the United States

($1.566 billion USD), including in this Judicial District. See 2020 Annual Report at 87 and 187.

                                JURISDICTION AND VENUE

                11.     Plaintiffs incorporate each of the preceding paragraphs 1–10 as if fully set

forth herein.

                12.     This is a civil action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. §§ 100 et seq., including 35 U.S.C. § 271, for infringement of the

asserted patents-in-suit.

                13.     This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

                14.     This Court has personal jurisdiction over AstraZeneca Pharmaceuticals LP

because AstraZeneca Pharmaceuticals LP is a corporation with a principal place of business in

Delaware and has at least one other regular and established place of business in Delaware.

                15.     AstraZeneca Pharmaceuticals LP is also subject to personal jurisdiction in

Delaware because, among other things, upon information and belief, it has purposely availed itself

of the benefits and protections of Delaware’s laws such that it should reasonably anticipate being

sued in this Court. On information and belief, AstraZeneca Pharmaceuticals LP develops,

manufactures, imports, markets, distributes, uses, offers to sell, and/or sells, or causes others to

use, promote, market, offer to sell, or sell pharmaceutical products, including Tagrisso® Products,

throughout the United States, including in the State of Delaware related to Plaintiffs’ claims, and

therefore, transacts business within the State of Delaware related to Plaintiffs’ claims, and/or has

engaged in systematic and continuous business contacts within the State of Delaware.


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               16.      Upon information and belief, AstraZeneca Pharmaceuticals LP, as the

holder of NDA No. 208065 and distributor of Defendants’ Tagrisso® Products throughout the

United States, including in the State of Delaware, also derives substantial revenue from interstate

and/or international commerce, including substantial revenue from pharmaceutical products,

including Tagrisso® Products, used and/or consumed or services rendered in the State of Delaware

and this Judicial District and that are manufactured and/or distributed by Defendants.

               17.      On information and belief, AstraZeneca Pharmaceuticals LP is one of

AstraZeneca PLC’s principal U.S. trading entities. See AstraZeneca Annual Report and Form 20-

F Information 2014 (“2014 Annual Report”) at 98, available at

https://www.astrazeneca.com/content/dam/az/Investor_Relations/annual-reports-

homepage/2014-Annual-report-English.pdf.

               18.      AstraZeneca Pharmaceuticals LP, in concert with AstraZeneca AB, and

under the direct or indirect control of AstraZeneca PLC, has committed acts of infringement and

continues to commit such acts in this Judicial District by developing, manufacturing, importing,

marketing, distributing, using, offering to sell, and/or selling pharmaceutical products, including

Tagrisso® Products, under its NDA No. 208065 in or into this Judicial District, prior to the

expiration of the patents-in-suit.

               19.      AstraZeneca AB is subject to personal jurisdiction in Delaware because,

among other things, AstraZeneca AB purposely availed itself of the benefits and protections of

Delaware’s laws such that it should reasonably anticipate being sued in this Court. On information

and belief, AstraZeneca AB itself, develops, manufactures, imports, markets, distributes, uses,

offers to sell, and/or sells, or causes others to use, offer to sell, or sell pharmaceutical products,

including Tagrisso® Products, throughout the United States, including in the State of Delaware




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related to Plaintiffs’ claims, and therefore, transacts business within the State of Delaware related

to Plaintiffs’ claims, and/or has engaged in systematic and continuous business contacts within the

State of Delaware. Upon information and belief, AstraZeneca AB also derives substantial revenue

from interstate and/or international commerce, including substantial revenue from pharmaceutical

products, including Tagrisso® Products, used and/or consumed or services rendered in the State of

Delaware and this Judicial District.

               20.      On information and belief, AstraZeneca AB has consented to jurisdiction

in Delaware in one or more prior cases arising out of its filing of an action for patent infringement

under the provisions of § 271 related to the filing of Abbreviated New Drug Application

(“ANDA”) to the U.S. Food and Drug Administration (“FDA”) and/or it has filed counterclaims

in such cases. These actions include cases specifically related to enforcement actions concerning

ANDAs concerning generic alternatives to Tagrisso®. See, e.g., AstraZeneca AB and AstraZeneca

Pharmaceuticals LP v. Alembic Pharmaceuticals Limited et al., C.A. No: 20-202-RGA (D. Del.

Feb. 11, 2020).

               21.      Additionally, this Court has personal jurisdiction over AstraZeneca AB

because the requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met since (a) Plaintiffs’

claims arise under federal law; (b) AstraZeneca AB is a foreign defendant not subject to general

personal jurisdiction in the courts of any state; and (c) AstraZeneca AB has sufficient contacts in

the United States as a whole, including, but not limited to, by participating in the preparation of

AstraZeneca Pharmaceuticals LP’s NDA No. 208065, including drug product manufacturing,

quality control testing, drug product release, and stability testing, and/or manufacturing and/or

selling pharmaceutical products, including Tagrisso® Products, distributed throughout the United




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States, including in this Judicial District, such that this Court’s exercise of jurisdiction over

AstraZeneca AB satisfies due process.

               22.      AstraZeneca PLC is subject to personal jurisdiction in Delaware because,

among other things, AstraZeneca PLC itself, and through its wholly owned subsidiaries

AstraZeneca Pharmaceuticals LP and/or AstraZeneca AB, purposely availed itself of the benefits

and protections of Delaware’s laws such that it should reasonably anticipate being sued in this

Court.   On information and belief, AstraZeneca PLC itself, and through its wholly owned

subsidiaries AstraZeneca Pharmaceuticals LP and/or AstraZeneca AB, develops, manufactures,

imports, markets, distributes, uses, offers to sell, and/or sells pharmaceutical products, including

Tagrisso® Products, throughout the United States, including in the State of Delaware, and

therefore transacts business within the State of Delaware related to Plaintiffs’ claims, and/or has

engaged in systematic and continuous business contacts within the State of Delaware.

               23.      In addition, AstraZeneca PLC is subject to personal jurisdiction in

Delaware because, on information and belief, it controls, either directly or indirectly, and

dominates AstraZeneca Pharmaceuticals LP and/or AstraZeneca AB, and therefore, the activities

of AstraZeneca Pharmaceuticals LP and/or AstraZeneca AB in this jurisdiction are attributed to

AstraZeneca PLC. See 2020 Annual Report at 236. The AstraZeneca global website presents the

company as a single entity and presents the AstraZeneca PLC Board as responsible for setting

strategy and policies and monitoring progress toward meeting annual plans of the company, further

indicating central control of AstraZeneca PLC over its wholly owned subsidiaries AstraZeneca

Pharmaceuticals LP and/or AstraZeneca AB.            See, e.g., https://www.astrazeneca.com/our-

company/leadership.html.




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               24.      On information and belief, Defendants regularly do business in Delaware,

and their practices have involved placing pharmaceutical products, including Tagrisso® Products,

into the stream of commerce for distribution throughout the United States, including in Delaware.

On information and belief, Defendants’ pharmaceutical products, including Tagrisso® Products,

are used and/or consumed within and throughout the United States, including in Delaware. On

information and belief, Tagrisso® Products are prescribed by physicians practicing within

Delaware, dispensed by pharmacies located within Delaware, and used by patients in Delaware.

Each of these activities has a substantial effect within Delaware and constitutes infringement of

the patents-in-suit before their expiration.

               25.      AstraZeneca PLC’s annual report states that their largest selling product in

2020 was Tagrisso®, of which sales revenue from the United States accounted for $1.566 billion

USD, which includes sales in this Judicial District.

               26.      Additionally, this Court has personal jurisdiction over AstraZeneca PLC

because the requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met since (a) Plaintiffs’

claims arise under federal law; (b) AstraZeneca PLC is a foreign defendant not subject to general

personal jurisdiction in the courts of any state; and (c) AstraZeneca PLC itself, through its wholly

owned subsidiaries AstraZeneca Pharmaceuticals LP and/or AstraZeneca AB, has sufficient

contacts in the United States as a whole, including, but not limited to, either directly or indirectly,

participating in the preparation of AstraZeneca Pharmaceuticals LP’s NDA No. 208065, and/or

manufacturing and/or selling pharmaceutical products, including Tagrisso® Products, distributed

throughout the United States, including in this Judicial District, such that this Court’s exercise of

jurisdiction over AstraZeneca PLC satisfies due process.




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               27.      On information and belief, Defendants have systematic and continuous

contacts with Delaware; have established distribution channels for Tagrisso® Products in

Delaware; regularly and continuously conduct business in Delaware, including by selling

Tagrisso® Products in Delaware, either directly or indirectly through their subsidiaries, agents, or

affiliates; have purposefully availed themselves of the privilege of doing business in Delaware;

and derive substantial revenue from the sale of Tagrisso® Products in Delaware.

               28.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b)

as to AstraZeneca Pharmaceuticals LP because AstraZeneca Pharmaceuticals LP resides in

Delaware and has a regular and established place of business in Delaware.

               29.      Venue is proper in this Court as to AstraZeneca AB because AstraZeneca

AB is a foreign entity that may be sued in any judicial district, including in the District of Delaware.

28 U.S.C. § 1391(c)(3); see also 28 U.S.C. § 1400(b).

               30.      Venue is proper in this Court as to AstraZeneca PLC because AstraZeneca

PLC is a foreign entity that may be sued in any judicial district, including in the District of

Delaware. 28 U.S.C. § 1391(c)(3); see also 28 U.S.C. § 1400(b).

                                   FACTUAL BACKGROUND

               31.     Non-Small Cell Lung Cancer (“NSCLC”) is an epithelial lung cancer and

the leading cause of cancer death in the United States, Japan, and Western Europe. Approximately

75 percent of lung cancer cases are categorized as NSCLC.

               32.      In 2003, the FDA approved the compound known as gefitinib (marketed

under the tradename IRESSA®) for the treatment of epidermal growth factor receptor (EGFR)-

mediated NSCLC in the United States. Soon after, the FDA also approved the compound known

as erlotinib (marketed under the tradename TARCEVA®) for treating EGFR-mediated NSCLC in

the United States. Both gefitinib and erlotinib are small molecule EGFR Tyrosine Kinase


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Inhibitors (“TKIs”). Unfortunately, some NSCLC patients treated with gefitinib or erlotinib later

were recognized as desensitized or resistant, or never initially responsive to these treatments

(together categorized as “gefitinib and/or erlotinib resistant NSCLC”).

               33.     The inventors of the patents-in-suit determined that small molecule

inhibitors that irreversibly bind to the EGFR tyrosine kinase domain via a covalent bond to cysteine

773 of the EGFR catalytic domain in EGFR (“irreversible EGFR TKIs”) are effective in treating

cancers like NSCLC that are resistant to gefitinib and/or erlotinib therapy. The inventions arising

out of this research are described and claimed in the patents-in-suit: the ’314 patent and the ’162

patent.

               34.      Puma is a biopharmaceutical company that focuses on the development

and commercialization of products for the treatment of cancer. In 2011, Puma licensed the patent

rights for the patents-in-suit from Pfizer and Wyeth to fully develop treatments for cancer, bring

approved therapies to market, and deliver them to patients in need. Puma has invested millions of

dollars in this endeavor.

               35.      Pursuant to the licensing agreement, Puma is the holder of NDA 208051

for NERLYNX® (neratinib), an intracellular kinase inhibitor that irreversibly binds to EGFR,

human epidermal growth factor receptor 2 (“HER2”), and human epidermal growth factor receptor

4 (“HER4”). NERLYNX® was approved on July 17, 2017, by the FDA for use (1) as a single

agent for extended adjuvant treatment of adult patients with early-stage HER2-positive breast

cancer, to follow adjuvant trastuzumab based therapy and (2) in combination with capecitabine for

the treatment of adult patients with advanced or metastatic HER2-positive breast cancer who have

received two or more prior anti-HER2 based regimens in the metastatic setting.




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                36.     Additionally, Puma is currently in phase 2 clinical trials investigating the

use of neratinib in treating EGFR-mutant mediated lung cancers.

                                     THE PATENTS-IN-SUIT

                37.     The ’314 patent, titled “Method For Treating Gefitinib Resistant Cancer”

was duly and lawfully issued on March 31, 2020. Plaintiff Wyeth co-owns, and Plaintiffs Wyeth

and Puma are the exclusive licensees of, and together have all the rights to enforce, the ’314 patent.

The ’314 patent is the U.S. national entry of corresponding international application

PCT/US2006/003717, filed February 2, 2006. A true and correct copy of the ’314 patent is

attached hereto as Exhibit A.

                38.     The patents-in-suit are assigned to Wyeth LLC and The General Hospital

Corporation (“GHC”).

                39.     GHC is a corporation organized and existing under the laws of the State of

Massachusetts with its principal office at 55 Fruit Street, Boston, MA 02114. Wyeth LLC is the

exclusive licensee of the patents-in-suit under a license agreement with GHC. Under the license,

GHC transferred all substantial rights to the patents-in-suit, including the exclusive right to enforce

and sub-license those patents, to Wyeth LLC, and the only limited rights retained by GHC relate

to their retained research rights to the patents-in-suit.

                40.       The ’314 patent claims methods for treating patients with NSCLC that are

resistant to gefitinib and/or erlotinib using an irreversible EGFR inhibitor that covalently binds to

cysteine 773 residue in the ligand-binding pocket of EGFR. According to the claimed method, the

irreversible EGFR inhibitor is administered daily and can be delivered orally. NSCLCs with a

T790M EGFR mutation, including those treated with Tagrisso®, are resistant to gefitinib and/or

erlotinib treatment.




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               41.     The ’162 patent, titled “Method For Treating Gefitinib Resistant Cancer”

was duly and lawfully issued on March 24, 2020. Plaintiff Wyeth co-owns, and Plaintiffs Wyeth

and Puma are the exclusive licensees of, and together have the right to enforce, the ’162 patent. A

true and correct copy of the ’162 patent is attached hereto as Exhibit B.

               42.     The ’162 patent claims methods for treating gefitinib and/or erlotinib

resistant NSCLC having a T790M EGFR mutation using an irreversible EGFR inhibitor that

covalently binds to cysteine 773 of the catalytic domain within the EGFR T790M mutant.

According to the claimed method, the irreversible EGFR inhibitor is administered daily with a unit

dosage of 2–500 mg. NSCLCs with a T790M EGFR mutation, including those treated with

Tagrisso®, are resistant to gefitinib and/or erlotinib treatment.

                                     TAGRISSO® PRODUCT

               43.     A decade after publication of the provisional applications that led to the

patents-in-suit and disclosure to the public of the inventors’ contribution to the relevant field of

medicine, on November 13, 2015, the FDA approved Tagrisso® (osimertinib), as an irreversible

EGFR inhibitor. Tagrisso® was approved by the FDA under NDA No. 208065 held by Defendant

AstraZeneca Pharmaceuticals LP, for the indication of treating patients with metastatic EGFR

T790M mutation-positive NSCLC who have progressed on or after EGFR TKI therapy. A copy

of the current prescribing information for Tagrisso® (the “Tagrisso® Product Label”) is attached

hereto as Exhibit C.

               44.     Since November 13, 2015, the Tagrisso® Product has been approved by the

FDA to treat metastatic EGFR T790M mutation-positive NSCLC, and AstraZeneca through this

Label knowingly and intentionally instructs end users to administer Tagrisso® Products to humans

to treat EGFR T790M mutation-positive NSCLC.




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               45.     On April 18, 2018, the FDA granted the supplemental approval of Tagrisso®

(osimertinib), under NDA No. 208065/S-008 held by Defendant AstraZeneca Pharmaceuticals LP,

and the Tagrisso® Product Label was amended to include an indication for first-line treatment of

patients with metastatic NSCLC whose tumors have EGFR exon 19 deletions or exon 21 L858R

mutations, as detected by an FDA-approved test.

               46.     On December 18, 2020, the FDA granted the supplemental approval of

Tagrisso® (osimertinib), under NDA No. NDA 208065/S-21 held by Defendant AstraZeneca

Pharmaceuticals LP, and the Tagrisso® Product Label was amended to include an indication for an

adjuvant therapy after tumor resection in adult patients with NSCLC whose tumors have EGFR

exon 19 deletions or exon 21 L858R mutations, as detected by an FDA-approved test.

               47.     Use of AstraZeneca’s Tagrisso® Products according to the Tagrisso®

Product Label infringes at least claim 1 of each of the patents-in-suit.

                     COUNT I: INFRINGEMENT OF THE ’314 PATENT

               48.     Plaintiffs re-allege and incorporate by reference each of the allegations set

forth in Paragraphs 1–47.

               49.     The use of Tagrisso® Products to treat patients according to the Tagrisso®

Product Label is covered by one or more claims of the ’314 patent, including at least claim 1 of

the ’314 patent, because claim 1 of the ’314 patent encompasses treating patients with gefitinib

and/or erlotinib resistant NSCLC using an irreversible EGFR TKI.

               50.     AstraZeneca’s commercial manufacture, use, importation, marketing, sale,

and/or offer for sale of the Tagrisso® Products, including tablets of 40 mg and 80 mg dosage

strength, in or into the United States directly infringes, contributes to the infringement of, and/or

actively induces the infringement by others of one or more claims of the ’314 patent under 35

U.S.C. § 271(a)–(c).


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                51.     The use of AstraZeneca’s Tagrisso® Products by pharmacies, hospitals,

clinics, healthcare professionals, and other end users to treat NSCLC patients under the indications

specified in the Tagrisso® Product Label directly infringes one or more claims of the ’314 patent

under 35 U.S.C. § 271(a).

                52.     On information and belief, AstraZeneca, through their own actions or

through the actions of their agents, affiliates, and subsidiaries, market and/or distribute Tagrisso®

Products to resellers, pharmacies, hospitals, clinics, healthcare professionals, and other end users.

On information and belief, AstraZeneca knowingly and intentionally accompany the Tagrisso®

Products with a product label or product insert that includes instructions for using or administering

the Tagrisso® Products to treat NSCLC patients which infringes the ’314 patent. Accordingly,

AstraZeneca induce resellers, pharmacies, hospitals, clinics, healthcare professionals, and other

end users of the Tagrisso® Products to directly infringe the ’314 patent. On information and belief,

AstraZeneca encourage acts of direct infringement with knowledge of the ’314 patent and

knowledge that they are encouraging infringement thereof.

                53.     On information and belief, AstraZeneca are actively inducing infringement

of the ’314 patent. AstraZeneca’s activities are done with knowledge of the ’314 patent and

specific intent to infringe that patent.

                54.            On information and belief, prior to the ’314 patent issuing,

AstraZeneca were aware of the corresponding European Patent 1 848 414 B1 (or respectively, the

underlying PCT application publication WO 2006/084058), issued April 6, 2011, including the

same or similar claims as the ’314 patent and having the same owner (Plaintiff Wyeth LLC) and

exclusive licensee (Plaintiff Puma). Two patents that are listed in the FDA Orange Book for

Tagrisso®, US 8946235 and US 9732058, recite the inventors’ WO 2006/084058 as important




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prior art. On information and belief, as of March 31, 2020, the date of issuance of the ’314 patent,

AstraZeneca knew that a U.S. patent containing claims such as those in the ’314 patent would

issue.

               55.     On information and belief, AstraZeneca know that the Tagrisso® Products

and Tagrisso® Product Label are especially made or adapted for use in infringing the ’314 patent,

that the Tagrisso® Products are not staple articles or commodities of commerce, and that the

Tagrisso® Products and accompanying Tagrisso® Product Label are not suitable for substantial

noninfringing use. On information and belief, AstraZeneca contribute to infringement of the ’314

patent.

               56.     The foregoing actions by AstraZeneca constitute and/or will constitute

direct infringement of the ’314 patent, active inducement of infringement by others of the ’314

patent, and contribution to the infringement by others of the ’314 patent under 35 U.S.C. § 271(a)–

(c).

               57.     Plaintiffs have been and will continue to be damaged by AstraZeneca’s

infringement of the ’314 patent. Plaintiffs are entitled to recover from AstraZeneca the damages

sustained by Plaintiffs as a result of AstraZeneca’s wrongful acts, including at a minimum a

reasonable royalty.

               58.     AstraZeneca’s infringement is deliberate and willful, entitling Plaintiffs to

seek enhanced damages under 35 U.S.C. § 284 and to seek attorneys’ fees and costs incurred in

prosecuting this action under 35 U.S.C. § 285. AstraZeneca’s infringement of the ’314 patent is

with full and complete knowledge of the ’314 patent and its applicability to the use of Tagrisso®

Products without a good faith belief that the ’314 patent is invalid or not infringed.




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               59.       Plaintiffs have been and will continue to be substantially and irreparably

damaged by infringement of the ’314 patent. Unless AstraZeneca are enjoined from actively

inducing infringement of the ’314 patent, and contributing to the infringement of the ’314 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law, and considering

the balance of hardships between Plaintiffs and AstraZeneca, a remedy in equity is warranted.

Further, the public interest would not be disserved by the entry of an injunction.

                     COUNT II: INFRINGEMENT OF THE ’162 PATENT

               60.     Plaintiffs re-allege and incorporate by reference each of the allegations set

forth in Paragraphs 1–59.

               61.     The use of Tagrisso® Products to treat patients according to the Tagrisso®

Product Label is covered by one or more claims of the ’162 patent, including at least claim 1 of

the ’162 patent, because claim 1 of the ’162 patent encompasses treating patients with gefitinib

and/or erlotinib resistant NSCLC having a T790M mutation in EGFR using an irreversible EGFR

TKI administered daily in a dosage amount of 2–500 mg.

               62.     AstraZeneca’s commercial manufacture, use, importation, marketing, sale,

and/or offer for sale of the Tagrisso® Products, including tablets of 40 mg and 80 mg dosage

strength, in or into the United States directly infringes, contributes to the infringement of, and/or

actively induces the infringement by others of one or more claims of the ’162 patent under 35

U.S.C. § 271(a)–(c).

               63.     The use of AstraZeneca’s Tagrisso® Products by pharmacies, hospitals,

clinics, healthcare professionals, and other end users to treat NSCLC patients under the indications

specified in the Tagrisso® Product Label directly infringes one or more claims of the ’162 patent

under 35 U.S.C. § 271(a).




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                64.     On information and belief, prior to the ’162 patent issuing, AstraZeneca

were aware of the corresponding European Patent 1 848 414 B1, issued April 6, 2011 (or

respectively, the underlying PCT application publication WO 2006/084058), circumscribing the

same or similar claims as the ’162 patent and having the same owner (Plaintiff Wyeth LLC) and

exclusive licensee (Plaintiff Puma). Two patents that are listed in the FDA Orange Book for

Tagrisso®, US 8946235 and US 9732058, recite the inventors’ WO 2006/084058 as important

prior art. On information and belief, as of March 24, 2020, the date of issuance of the ’162 patent,

AstraZeneca knew that a U.S. patent containing claims such as those in the ’162 patent would

issue.

                65.     On information and belief, AstraZeneca, through their own actions or

through the actions of their agents, affiliates, and subsidiaries, market and/or distribute Tagrisso®

Products to resellers, pharmacies, hospitals, clinics, healthcare professionals, and other end users.

On information and belief, AstraZeneca knowingly and intentionally accompany the Tagrisso®

Products with a product label or product insert that includes instructions for using or administering

the Tagrisso® Products to treat NSCLC patients that infringes the ’162 patent. Accordingly,

AstraZeneca induce resellers, pharmacies, hospitals, clinics, healthcare professionals, and other

end users of the Tagrisso® Products to directly infringe the ’162 patent. On information and belief,

AstraZeneca encourage acts of direct infringement with knowledge of the ’162 patent and

knowledge that they are encouraging infringement.

                66.     On information and belief, AstraZeneca are actively inducing infringement

of the ’162 patent. AstraZeneca’s activities are done with knowledge of the ’162 patent and

specific intent to infringe that patent.




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               67.     On information and belief, AstraZeneca know that the Tagrisso® Products

and Tagrisso® Product Label are especially made or adapted for use in infringing the ’162 patent,

that the Tagrisso® Products are not staple articles or commodities of commerce, and that the

Tagrisso® Products and accompanying Tagrisso® Product Label are not suitable for substantial

noninfringing use. On information and belief, AstraZeneca contribute to infringement of the ’162

patent.

               68.     The foregoing actions by AstraZeneca constitute and/or will constitute

direct infringement of the ’162 patent, active inducement of infringement by others of the ’162

patent, and contribution to the infringement by others of the ’162 patent under 35 U.S.C. § 271(a)

–(c).

               69.     Plaintiffs have been and will continue to be damaged by AstraZeneca’s

infringement of the ’162 patent. Plaintiffs are entitled to recover from AstraZeneca the damages

sustained by Plaintiffs as a result of AstraZeneca’s wrongful acts, including at a minimum a

reasonable royalty.

               70.     AstraZeneca’s infringement is deliberate and willful, permitting Plaintiffs

to seek enhanced damages under 35 U.S.C. § 284 and to seek attorneys’ fees and costs incurred in

prosecuting this action under 35 U.S.C. § 285. AstraZeneca’s infringement of the ’162 patent is

with full and complete knowledge of the ’162 patent and its applicability to the use of Tagrisso®

Products without a good faith belief that the ’162 patent is invalid or not infringed.

               71.       Plaintiffs are and will continue to be substantially and irreparably

damaged by infringement of the ’162 patent. Unless AstraZeneca are enjoined from actively

inducing infringement of the ’162 patent, and contributing to the infringement of the ’162 patent,

Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law, and considering




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the balance of hardships between Plaintiffs and AstraZeneca, a remedy in equity is warranted.

Further, the public interest would not be disserved by the entry of an injunction.

                                         JURY DEMAND

               72.      Plaintiffs request a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs pray for judgment against AstraZeneca as follows:

               a)      For judgment that AstraZeneca have contributed to and induced, and

continue to contribute to and induce, infringement of the ’314 patent;

               b)      For judgment that AstraZeneca’s infringement of the ’314 patent has been

and continues to be willful;

               c)      For judgment that AstraZeneca have contributed to and induced, and

continue to contribute to and induce, infringement of the ’162 patent;

               d)      For judgment that AstraZeneca’s infringement of the ’162 patent has been

and continues to be willful;

               e)      For an order permanently enjoining AstraZeneca’s infringing activities;

               f)      For an accounting of all damages sustained by Plaintiffs as a result of

AstraZeneca’s infringing activities;

               g)      For actual damages, together with prejudgment interest;

               h)      For increased or enhanced damages pursuant to 35 U.S.C. § 284;

               i)      For an award of attorneys’ fees and costs pursuant to 35 U.S.C. § 285 or as

otherwise permitted by law; and

               j)      For such other and further relief as the Court may deem just and proper.




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September 22, 2021




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